  Case 1:18-cv-00950-LO-JFA Document 635 Filed 12/06/19 Page 1 of 2 PageID# 26057


                               UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF VIRGINIA


SONY MUSIC
ENTERTAINMENT, et al.
                                         Plaintiff(s),
                    v.
                                                                      JURY TRIAL
COX COMMUNICATIONS, INC,                                            Case No. 1:18CV950
et al.
                                         Defendant(s)
                                         .


HONORABLE LIAM O’GRADY presiding                                      Court Reporter:   N. Linnell/ A.
                                                                                        Thomson
Deputy Clerk: Amanda                                                     Court Time:    11:12 – 1:04
Proceeding Held: December 6, 2019                                                       2:10 – 3:29
                                                                                        3:51 – 5:24


                                                                  Total Time in Court   4 hr. 44 min.
Appearances:

    Plaintiff(s):        Scott Zebrak, Matthew Oppenheim, Jeffrey Gould, Lucy Noyola, Jia Rye, Andrew
                         Guerra, Michael Druckman

    Defendant(s): Thomas Buchanan, Michael Elkin, Jennifer Golinveaux, Thomas Lane, Sean
                  Anderson, Cesie Alvarez, Thomas Kearney, Michael Brody, Diana Leiden


Day 5
11:12 a.m. – Court resumes. Court and counsel discuss preliminary matters.
11:15 a.m. – Jury returns to the courtroom.
11:16 a.m. – Mr. Oppenheim continues with direct-exam of witness Linda Trickey. Witness previously
sworn.
1:03 p.m. – Mr. Oppenheim concludes. Jury excused.
1:04 p.m. – Court recesses.
2:10 p.m. – Court resumes. Court and counsel discuss preliminary matters.
2:14 p.m. – Jury returns to the courtroom.
2:15 p.m. – Mr. Elkin begins direct-exam of witness (shared witness by both parties).
3:11 p.m. – Mr. Elkin concludes.
3:12 p.m. – Mr. Oppenheim begins cross-exam of witness.
3:29 p.m. – Court recesses.
3:51 p.m. – Court resumes. Jury returns to the courtroom.
3:52 p.m. – Mr. Oppenheim continues with exam of witness.
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4:30 p.m. – Mr. Oppenheim concludes.
4:30 p.m. – Mr. Elkin begins cross-exam.
4:37 p.m. – Mr. Elkin concludes. Witness excused.
4:39 p.m. – Mr. Gould calls witness Roger Vredenburg. Witness sworn. Begin direct-exam.
5:12 p.m. – Jury excused for the day.
5:13 p.m. – Witness excused for the day.
5:14 p.m. – Court and counsel discuss housekeeping matters.
5:24 p.m. – Court recesses for the day.
